        Case 1:20-cv-06088-JGK Document 11 Filed 10/20/20 Page 1 of 2


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DONNA HEDGES,
                                                20-cv-6088 (JGK)
                     Plaintiff,
                                                ORDER
          - against -
                                                 U3DC SDNY
CAMPBELLSVILLE UNIVERSITY, INC.,
                                                 DOCUMENT
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                     Defendant.
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JOHN G. KOELTL, District Judge:

     It having been reported to this Court that the parties have

settled this action , it is , on this 20th day of October , 2020 ,

hereby ordered that this matter be discontinued with prejudice but

without costs ; provided , however , that within 30 days of the date

of this order , counsel for the plaintiff may apply by letter for

restoration of the action to the calendar of the undersigned , in

which event the action will be restored .

     Any application to reopen must be filed within thirty (30)

days of this order ; any application to reopen filed thereafter may

be denied solely on that basis .      Further , if the parties wish for

the Court to retain jurisdiction for the purpose of enforcing any

settlement agreement , they must submit the settlement agreement to

the Court within the same thirty-day period to be so - ordered by

the Court . Unless the Court orders otherwise , the Court will not

retain jurisdiction to enforce a settlement agreement unless it is

made part of the public record .
         Case 1:20-cv-06088-JGK Document 11 Filed 10/20/20 Page 2 of 2


     All pending motions are dismissed as moot .        All conferences

are canceled . The Clerk of Court is directed to close this case .

SO ORDERED .

Dated:     New York, New York
           October 20, 2020



                                          United States District Judge




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